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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

   v.                                                      CR NO. 21-MJ-00033

PETER HARDING,


   Defendant.


CONSENT MOTION TO CONTINUE STATUS CONFERENCE AND EXCLUDE TIME
                  UNDER THE SPEEDY TRIAL ACT


        The United States, through undersigned counsel, hereby files this motion to adjourn the

status conference set for Tuesday, February 14, 2023, in the above-captioned matter, for

approximately 30 days, until Thursday, March 16, 2023. Defense counsel concurs in this motion.

The parties request the additional time to engage in plea negotiations and review pre-discovery

productions.

        The parties request that the Court exclude the time from February 14. 2023, until the next

status conference, pursuant to 18 U.S.C. § 3161 et seq., on the basis that the ends of justice

served by taking such actions outweigh the best interest of the public and the defendant in a

speedy trial pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A).
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                                        Respectfully submitted,

                                        MATTHEW M. GRAVES
                                        UNITED STATES ATTORNEY
                                        D.C. Bar No. 481052



Date: February 7, 2023               By: __/s/ Jennifer Leigh Blackwell__________
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                                 CERTIFICATE OF SERVICE

        On this 7th day of February, a copy of the foregoing was served on counsel of record for
the defendant via the Court’s Electronic Filing System.



                                                  /s/ Jennifer L. Blackwell
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